
Geeen, J.
delivered the opinion of the court.
In this case, the defendant in error sued the plaintiffs in error in covenant, upon a warranty in a bill of sale of two slaves; that their title was superior to all other titles, and that slaves were free from all incumbrances.
The defendants pleaded covenants performed; and after-wards, at a subsequent term of this court, the defendant tendered, and asked leave to file a special plea, which alleges, that before the making of the covenant declared on, the plaintiff was informed how the title stood to the negro man Charles; that W. B. Mayfield had a claim to said negro, and that defendants would not warrant the title against the said Mayfield.
The court refused to permit the said plea to be filed; and the cause was tried upon the issue previously made up. The *299plaintiff obtained a verdict and judgment, and the defendants appealed to this court.
The only error alledged is, that the court below should have permitted the special plea to be filed. In this there was clearly no error. The plea tendered was no defence to the action. Evidence to establish the facts pleaded, would have been in direct contradiction of the written covenant. The covenant warrants the title of the defendants to be superior to all other titles; but the plea alledges, that the plaintiff was informed at the time, that the defendants would not warrant against the title of Mayfield.
Such a contradiction of the covenant is plainly inadmissible d|)on the best settled principles; and the plea tendered constituting no good defence to the action, the court very properly refused to permit it to be filed.
Affirm the judgment.
